                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

KLOOSTERBOER INTERNATIONAL
FORWARDING LLC, et al.,

                     Plaintiffs,

             v.                                  Case No. 3:21-cv-00198-SLG

UNITED STATES OF AMERICA, et al.,

                     Defendants.


                  ORDER REQUESTING RESPONSE TO
              DEFENDANTS’ MOTION FOR RECONSIDERATION

      Defendants filed a Motion for Reconsideration at Docket 99. Pursuant to

Local Civil Rule 7.3(h)(3), Plaintiffs are requested to file a response to the motion,

not exceeding five pages, within seven days of the entry of this order.



      DATED this 18th day of October, 2021 at Anchorage, Alaska.


                                              /s/ Sharon L. Gleason
                                              UNITED STATES DISTRICT JUDGE




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